                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION


IN RE:                                                               CASE NO. 17-51014

KNIGHT ENERGY HOLDINGS, LLC, ET AL. 1                                (JOINTLY ADMINISTERED)

         DEBTORS                                                     CHAPTER 11

                                                                     JUDGE ROBERT SUMMERHAYS

   EX PARTE MOTION FOR AN ORDER ESTABLISHING THE AMOUNTS OF THE
    SECURED SENIOR CREDIT FACILITY CLAIMS FOR VOTING PURPOSES IN
       CONNECTION WITH THE AMENDED PLAN OF REORGANIZATION

         NOW INTO COURT, through undersigned counsel, comes Knight Energy Holdings,

LLC, Knight Oil Tools, LLC, Knight Manufacturing, LLC, KDCC, LLC f/k/a Knight Well

Services, LLC, Tri-Drill, LLC, Advanced Safety & Training Management, LLC, Knight

Security, LLC, Knight Information Systems, LLC, El Caballero Ranch, Inc., Rayne Properties,

LLC, Knight Aviation, LLC; Knight Research & Development, LLC; Knight Family Enterprises,

LLC, HMC Leasing, LLC; and HMC Investments, LLC (collectively referred to as the

“Debtors”), who respectfully file this Ex Parte Motion for an Order Establishing the Amounts of

the Secured Senior Credit Facility Claims for Voting Purposes in Connection with the Amended

Plan of Reorganization (“Motion”) to establish the amounts of the Senior Secured Credit Facility


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, are
Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667) (Case No. 17-51015); Knight
Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well Services, LLC (4156) (Case No. 17-
51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety & Training Management, LLC, (0510) (Case No. 17-
51019); Knight Security, LLC (0923) (Case No. 17-51020); Knight Information Systems, LLC (9787) (Case No. 17-51021);
El Caballero Ranch, Inc. (7345) (Case No. 17-51022); Rayne Properties, LLC (7235) (Case No. 17-51023); Knight Aviation,
LLC (3329) (Case No. 17-51024); Knight Research & Development, LLC (3760) (Case No. 17-51025); Knight Family
Enterprises, LLC (7190) (Case No. 17-51026); HMC Leasing, LLC (0814) (Case No. 17-51027) and HMC Investments,
LLC (8254) (Case No. 17-51029). The Debtors’ service address is 2727 SE Evangeline Thruway, Lafayette, Louisiana
70508 other than Knight Manufacturing, LLC and Advanced Safety & Training Management, LLC. Knight Manufacturing,
LLC’s service address is 2810-A Melancon Road, Broussard, Louisiana 70518 and Advanced Safety & Training
Management, LLC’s service address is 2725 SE Evangeline Thruway, Lafayette, Louisiana 70508.


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Claims to be counted as Class 6 and Class 9 Claims under the Debtors’ Joint Chapter 11 Plan of

Reorganization as of October 17, 2017 [Docket No. 417] (the “Amended Plan”):

         1.    This Court has jurisdiction over this Motion under 28 U.S.C. §1334. This matter

is a core proceeding within the meaning of 28 U.S.C. § 157(b). Venue of this proceeding and

jurisdiction is proper in this district pursuant to 28 U.SB.C. §§1408 and 1409.

         2.    The statutory and rule based predicates for the relief requested herein are sections

105(b) and 506 of the Bankruptcy Code, 11 U.S.C. §§ 101 et seq. and Bankruptcy Rule No.

3018(a) and (d).

         3.    On August 8, 2017, each of the Debtors filed a voluntary petition for relief under

Chapter 11 of the Bankruptcy Code.         The Debtors continue to manage and operate their

businesses as debtors-in-possession pursuant to Bankruptcy Code §§ 1107 and 1108.

         4.    No trustee or examiner has been requested or appointed in any of these Chapter

11 cases. On August 24, 2017, an official committee of unsecured creditors was appointed in

these Chapter 11 cases.

         5.    On October 17, 2017, the Debtors filed the Amended Plan and Disclosure

Statement as of October 17, 2017 for the Debtors’ Joint Chapter 11 Plan of Reorganization as of

October 17, 2017 [Docket No. 418] (“Disclosure Statement”).

         6.    On October 18, 2017, pursuant to Section 1125 of the Bankruptcy Code, the

Bankruptcy Court entered an Order Approving (I) Disclosure Statement as of October 17, 2017

for the Debtors’ Joint Chapter 11 Plan of Reorganization as of October 17, 2017, (II) the

Confirmation Hearing Notice, the Contents of the Solicitation Package, and the Manner of

Mailing and Service of the Solicitation Package and Confirmation Notice, (III) the Procedures

for Voting and Tabulation of Ballots, and (IV) the Forms of Ballots [Dkt. No. 422], approving



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the Disclosure Statement as providing adequate information for the holders of Claims and

Interests to make a decision as to whether to accept or reject the Amended Plan.

         7.      By this Motion, the Debtors, with the consent of holders of the Secured Senior

Credit Facility Claims, are seeking an order which, for voting and tabulation purposes only, sets

forth the amount of the Class 6 Secured Senior Credit Facility Claims and Class 9 Senior Credit

Deficiency Claims in connection with the Amended Plan.2

         8.      The Debtors propose that, with respect to the Secured Senior Credit Facility

Claims, in connection with the Amended Plan: Class 6 Secured Senior Credit Facility Claims be

allocated for voting purposes the amount of $75.2 million, Class 9 Senior Credit Deficiency

Claim be allocated for voting purposes the amount of $128.6 million, and that the Class 6 and

Class 9 Ballots of the Holders of Secured Senior Credit Facility Claims will be counted in the

amounts stated in connection with the tabulation of ballots and the confirmation hearing on the

Amended Plan.

         9.      The proposed amount of the Class 6 Secured Senior Credit Facility Claims ($75.2

million) is based on the high range of the estimated recovery by the holders of Secured Senior

Credit Facility Claims on account of their secured claims in a liquidation scenario. See,

Liquidation Analysis attached as Exhibit D-5 to the Disclosure Statement. The amount of the

Class 9 Senior Credit Deficiency Claim ($128.6 million) is based on the outstanding Secured

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  Pursuant to the Final Order Authorizing Limited Use of Cash Collateral, Obtaining Post-Petition Financing
Secured by Senior Liens, and Granting Adequate Protection to Existing Lienholders [Docket No. 276] (the “Final
DIP Order”), the Prepetition Agent and the Prepetition Lenders (each as defined in the Final DIP Order) hold
allowed claims against the Debtors, as of the Petition Date, in an aggregate amount equal to at least $180,550,971 in
principal amount under the Prepetition Senior Credit Agreement (as defined in the Final DIP Order), plus at least
$22,690,038 in accrued and unpaid interest, at least $430,789 in fees, plus any and all other interest, fees, costs,
expenses, charges, and other claims, debts or obligations of the Debtors to the Prepetition Agent and the Prepetition
Lenders that have accrued as of the Petition Date under the Prepetition Senior Credit Agreement Documents (as
defined in the Final DIP Order) and applicable law. This Motion is solely for the purpose of allocating the Class 6
Secured Senior Credit Facility Claims and Class 9 Senior Credit Deficiency Claims of the Prepetition Agent and
Prepetition Lenders for voting and tabulation purposes with respect to the Amended Plan and does not constitute a
request for a determination of the amount of the Prepetition Agent’s and the Prepetition Lenders’ secured and
deficiency claims for any other purpose, without limitation.

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Senior Credit Facility Claims ($203.8 million) minus the estimated amount ($75.2 million) of the

Class 6 Secured Senior Credit Facility Claims.

         10.    The relief provided herein is fair and reasonable, is consistent with the provisions

of Bankruptcy Rule 3018(a) (which allows the Court to temporarily allow claims for voting

purposes in an amount which the Court deems proper for purposes of accepting or rejecting a

plan) and Bankruptcy Rule 3018(d) (which provides that a creditor whose claim has been

allowed in part as a secured claim and allowed in part as an unsecured claim to vote to accept or

reject a plan in both capacities).

         11.    The Official Committee of Unsecured Creditors has no objection to relief

requested herein.

         WHEREFORE, the Debtor prays that the Court enter an order that for voting purposes

only, in connection with the Amended Plan, (1) allocating for voting purposes the Class 6

Secured Senior Credit Facility Claims the amount of $75.2 million and the Class 9 Senior Credit

Deficiency Claim amount of $128.6 million, and (2) providing that the Class 6 and Class 9

Ballots of the Holders of Secured Senior Credit Facility Claims will be counted as set forth

herein in connection with the tabulation of ballots and the confirmation hearing on the Amended

Plan.




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         This 6th day of November 2017.
                                      Respectfully submitted,

                                      /s/ William H. Patrick, III
                                      William H. Patrick, III (La. Bar No. 10359)
                                      Tristan E. Manthey (La. Bar No. 24539)
                                      Cherie Dessauer Nobles (La. Bar No. 30476)
                                      Heller, Draper, Patrick, Horn
                                      & Dabney, L.L.C.
                                      650 Poydras Street, Suite 2500
                                      New Orleans, Louisiana 70130-6175
                                      Telephone: (504) 299-3300
                                      Facsimile: (504) 299-3399
                                      Counsel for Debtors




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